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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,            )
                                     )              Case No. CR-07-305-S-BLW
           Plaintiff,                )
                                     )              ORDER ADOPTING
      v.                             )              REPORT AND
                                     )              RECOMMENDATION
JONATHAN PEREZ-VARGAS,               )
                                     )
           Defendant.                )
 ___________________________________)

      The Court has before it a Report and Recommendation filed by the United

States Magistrate Judge. (Docket No. 55). On October 8, 2008, Defendant

Jonathan Perez-Vargas appeared before the Magistrate Judge to enter a change of

plea pursuant to a written plea agreement. The Magistrate Judge conducted the plea

hearing and concluded there is a factual basis for Defendant’s plea of guilty to

Count One of the First Superseding Indictment (Docket No. 29), and that it was

entered voluntarily and with full knowledge of the consequences. No objections to

the Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of

Rule 11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the

requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was
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voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Docket No. 55) shall be, and the same is hereby, ADOPTED as

the decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to Count

One of the First Superseding Indictment (Docket No. 29), shall be, and the same is

hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the

offense.

      IT IS FURTHER ORDERED that Defendant Jonathan Perez-Vargas is

found to be GUILTY as to the crime charged in Count One of the First

Superseding Indictment (Docket No. 29).

                                       DATED: November 3, 2008



                                       B. LYNN WINMILL
                                       Chief Judge
                                       United States District Court




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